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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS


 ALEXIS SWEARINGEN                                  )
                                                    )
                                Plaintiff,          )
                                                    )
 v.                                                 )         Case No. 20-cv-2630-DDC-TJJ
                                                    )
 BOARD OF COUNTY                                    )
 COMMISSIONERS                                      )
 OF LINN COUNTY, KANSAS, et al.                     )
                                                    )
         Defendants.                                )

      PLAINTIFF’S MOTION TO DEFER CONSIDERATION OF SUMMARY
                JUDGMENT AND TO REOPEN DISCOVERY

        Discovery closed in this matter on November 30, 2021. However, on March 18,

2022, the Linn County Defendants produced an email from a Linn County Sheriff

Detective containing extensive information about David Huggins involvement with

Plaintiff. See Ex. A to Memorandum. Plaintiff should be permitted to discovery

information related to the late-produced email, including from the author and witnesses

identified in the email.

        Plaintiff incorporates her Memorandum in Support by reference.

        WHEREFORE, Plaintiff requests that the Court (1) grant Plaintiff 45 days to

conduct additional discovery related to the allegations and witnesses identified in the email;

(2) continue Plaintiff’s deadline to respond to the two pending summary judgment motions

(Doc. 110, 113) until 14 days after the end of the 45-day discovery period; (3) permit

Plaintiff to amend her initial disclosures to add additional witnesses identified during this

discovery period; and (4) permit Plaintiff’s experts to revise their opinion testimony.
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                                               Respectfully submitted,

                                               DRZ LAW, LLC

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                             CERTIFICATE OF SERVICE

I certify that on April 1, 2022, the foregoing was electronically filed using the Court's
electronic filing system, which will send notice of electronic filing to all registered
attorneys of record.


                                                  /s/ Chris Dove




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